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19
                            UNITED STATES DISTRICT COURT
20                        SOUTHERN DISTRICT OF CALIFORNIA

                                                  Case No.: '13CV1122 L   BGS
21
     JED ALEXANDER,
22   INDIVIDUALLY AND ON
     BEHALF OF ALL OTHERS                         CLASS ACTION COMPLAINT FOR
23   SIMILARLY SITUATED,                          DAMAGES
24                   Plaintiff,                   JURY TRIAL DEMANDED
25                             v.
26
     REGIONAL ADJUSTMENT
27   BUREAU, INC.,
28                   Defendant.



                                     CLASS ACTION COMPLAINT - 1
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1
                                         INTRODUCTION
2
     1.       JED ALEXANDER (“Plaintiff”) brings this class action for damages,
3
              injunctive relief, and any other available legal or equitable remedies,
4
              resulting from the illegal actions of REGIONAL ADJUSTMENT
5
              BUREAU, INC. and its related entities, subsidiaries and agents
6
              (“Defendant”) in willfully employing and/or causing to be employed
7
              certain recording equipment in order to record to the telephone
8
              conversations of Plaintiff without the knowledge or consent of Plaintiff, in
9
              violation of California Penal Code §§ 630 et seq., thereby invading
10

11
              Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as

12
              to his own acts and experiences, and, as to all other matters, upon

13            information and belief, including the investigation conducted by his
14            attorneys.
15   2.       California Penal Code § 632.7 prohibits one party to a telephone call from
16            intentionally recording the same conversation without the knowledge or
17            consent of the other while the person being recorded is on a cellular phone.
18            There is no requirement under California Penal Code § 632.7 that the
19            communication be confidential. Plaintiff alleges that Defendant continues
20            to violate Penal Code § 632.7 by impermissibly recording its telephone
21
              conversations with California residents while said residents are on cellular
22
              telephones.
23
                                   JURISDICTION AND VENUE
24
     3.       Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a
25
              resident of the State of California, seeks relief on behalf of a California
26
              class, which will result in at least one class member belonging to a different
27
              state than that of Defendants, a company with its principal place of
28
              business and incorporated in the State of Tennessee. Plaintiff also seeks


                                     CLASS ACTION COMPLAINT - 2
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1
              the greater of statutory damages of $5,000 per violation or three times
2
              actual damages per violation pursuant to Penal Code § 637.2(a), which,
3
              when aggregated among a proposed class number in the tens of thousands,
4
              exceeds the $5,000,000 threshold for federal court jurisdiction. Therefore,
5
              both diversity jurisdiction and the damages threshold under the Class
6
              Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
7
              jurisdiction.
8
     4.       Venue is proper in the United States District Court for the Southern District
9
              of California pursuant to 18 U.S.C. § 1391(b) and 1441(a) because
10

11
              Defendant does business within the State of California and the County of

12
              San Diego.

13                                            PARTIES
14   5.       Plaintiff is, and at all times mentioned herein was, an individual citizen and
15            resident of the State of California.
16   6.       Plaintiff is informed and believes, and thereon alleges, that Defendant is,
17            and at all times mentioned herein was, a corporation whose principal place
18            of business and State of incorporation is Tennessee. Defendant has a
19            policy and practice of recording telephone conversations with the public,
20
              including California residents.        Defendant’s employees and agents are
21
              directed, trained and instructed to, and do, record, the telephone
22
              conversations with the public, including California residents.
23
                                     FACTUAL ALLEGATIONS
24
     7.       Defendant is, and at all times mentioned herein was, a corporation.
25
              Plaintiff is informed and believes, and on the basis of that information and
26
              belief alleges, that at all times mentioned in this Complaint, Defendants
27
              were the agents and employees of their co-defendants, and in doing the
28




                                      CLASS ACTION COMPLAINT - 3
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1
              things alleged in this Complaint, were acting within the course and scope
2
              of that agency and employment.
3
     8.       At all times relevant, Plaintiff was an individual residing within the State of
4
              California.
5
     9.       Plaintiff is informed and believes, and thereon alleges, that Defendant
6
              regularly conducts business in the State of California; and makes and
7
              receives hundreds if not thousands of calls into and from California every
8
              week.
9
     10.      Since January of 2013, Plaintiff received several telephone calls from
10

11
              employees, officers and/or agents of Defendant concerning an alleged debt

12
              Defendant sought to collect from Plaintiff.         Plaintiff is informed and

13            believes, and thereon alleges, that Defendant records all telephonic
14            conservations without any disclosure/s and/or warning/s and/or obtaining
15            consent from California consumers, including Plaintiff.
16   11.      Specifically, on February 20, 2013, Plaintiff returned one of Defendant’s
17            telephone calls by calling Defendant at (800) 829-7750 order to inquire
18            about the reason and/or purpose for the telephone calls he had been
19            receiving. Defendant did not initially advise Plaintiff that the telephone
20            call would be recorded at the onset of the call. After speaking with an
21
              agent of Defendant for a period of time, including discussions of Plaintiff’s
22
              address and providing Plaintiff’s social security number, Defendant for the
23
              first time notified Plaintiff that the conversation was being recorded.
24
     12.      During the February 20, 2013 telephone conversation with Defendant,
25
              Plaintiff discussed highly personal and private financial information that
26
              Plaintiff had not openly discussed with others.
27

28




                                     CLASS ACTION COMPLAINT - 4
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1
     13.   Plaintiff had no reasonable expectation that Plaintiff’s mobile telephone
2
           conversation with Defendant would be recorded due to the private subject
3
           matter being discussed.
4
     14.   Further, Plaintiff had no reasonable expectation that Plaintiff’s mobile
5
           telephone conversation with Defendant would be recorded due to the fact
6
           that Defendant did not advise Plaintiff at the onset of the call that the
7
           conversation was being recorded.
8
     15.   Plaintiff was shocked to discover that such a confidential communication
9
           was being recorded by Defendant without Plaintiff’s knowledge or consent
10

11
           since Plaintiff was discussing private financial information that Plaintiff

12
           had not openly discussed with others.

13   16.   Due to the private nature of the calls, Plaintiff reasonably did not expect
14         Plaintiff’s telephone call to be recorded.
15   17.   Plaintiff found Defendant’s clandestine recording to be highly offensive
16         due to the delicacy of the topics discussed during said conversations.
17   18.   The February 20, 2013 conversation with Plaintiff, was without Plaintiff’s
18         knowledge or consent, recorded by Defendant, causing harm and damage
19         to Plaintiff.   Prior to Plaintiff’s disclosure of personal and private
20         information, Plaintiff was never informed that Plaintiff’s telephone calls
21
           were being recorded. At no time during these calls did Plaintiff give
22
           consent for the telephone calls to be recorded.
23
     19.   Plaintiff is informed and believes, and thereon alleges, that during the
24
           relevant time period, Defendant has had a policy and a practice of
25
           recording telephone conversations with consumers.               Defendant’s
26
           employees and agents are directed, trained and instructed to, and do, record
27
           telephone conversations with the public, including Plaintiff and other
28
           California residents.


                                   CLASS ACTION COMPLAINT - 5
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1
     20.   Plaintiff is informed and believes, and thereon alleges that from the
2
           beginning of 2012 to the present, Defendant has installed and/or caused to
3
           be installed certain recording equipment in its employees’ or agents’
4
           telephone lines. Defendant uses these devices to record each and every
5
           telephone conversation on said telephone lines.
6
     21.   Plaintiff is informed and believes, and thereon alleges, that during the
7
           relevant time period, Defendant has had all of its calls to the public,
8
           including those made to California residents, recorded without the
9
           knowledge or consent of the public, including Plaintiff and other California
10

11
           residents.

12
     22.   Defendant’s conduct alleged herein constitutes violations of the right to

13         privacy to the public, including Plaintiff and other California residents, and
14         California Penal Code § 630 et seq.
15                             CLASS ACTION ALLEGATIONS
16   23.   Plaintiff brings this action on behalf of herself and on behalf of all others
17         similarly situated (“The Class”).
18   24.   Plaintiff represents, and is a member of, “The Class” defined as follows:
19         “All persons in California whose inbound or outbound cellular telephone
20
           conversations were recorded without their consent by Defendant within one
21
           year prior to the filing of the original Complaint in this action.”
22
     25.   Defendant, and its employees and agents are excluded from The Class.
23
           Plaintiff does not know the number of members in The Class, but believe
24
           this number to be in the tens of thousands, if not more. Thus, this matter
25
           should be certified as a Class action to assist in the expeditious litigation of
26
           this matter.
27
     26.   This suit seeks only damages and injunctive relief for recovery of
28
           economic injury on behalf of The Class and it expressly is not intended to


                                   CLASS ACTION COMPLAINT - 6
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1
           request any recovery for personal injury and claims related thereto.
2
           Plaintiff reserves the right to expand The Class definitions to seek recovery
3
           on behalf of additional persons as warranted as facts are learned in further
4
           investigation and discovery.
5
     27.   The joinder of The Class members is impractical and the disposition of
6
           their claims in the Class action will provide substantial benefits both to the
7
           parties and to the Court. The Class can be identified through Defendant’s
8
           records.
9
     28.   There is a well-defined community of interest in the questions of law and
10

11
           fact involved affecting the parties to be represented. The questions of law

12
           and fact to The Class predominate over questions which may affect

13         individual Class members, including the following:
14         a. Whether Defendant has a policy of recording ingoing or outgoing calls
15            initiated to or by a cellular telephone;
16         b. Whether Defendant discloses to callers and/or obtains their consent that
17            their ingoing or outgoing telephone conversations were being recorded;
18         c. Whether Defendant’s policy of recording ingoing or outgoing calls
19            constituted a violation of California Penal Code § 632.7;
20         d. Whether Plaintiff, The Class were damaged thereby, and the extent of
21
              damages for such violations; and
22
           e. Whether Defendants should be enjoined from engaging in such conduct
23
              in the future.
24
     29.   Plaintiff is asserting claims that are typical of The Class because every
25
           other member of The Class, like Plaintiff, was exposed to virtually
26
           identical conduct and are entitled to the greater of statutory damages of
27
           $5,000 per violation pursuant to California Penal Code § 632.7.
28




                                   CLASS ACTION COMPLAINT - 7
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1
     30.   Plaintiff will fairly and adequately represent and protect the interests of
2
           The Class in that Plaintiff has no interest antagonistic to any member of
3
           The Class. Plaintiff has retained counsel experienced in handling class
4
           action claims to further ensure such protection.
5
     31.   Plaintiff and the members of The Class have all suffered irreparable harm
6
           as a result of the Defendant’s unlawful and wrongful conduct. Absent a
7
           class action, The Class will continue to face the potential for irreparable
8
           harm. In addition, these violations of law will be allowed to proceed
9
           without remedy and Defendant will likely continue such illegal conduct.
10

11
           Because of the size of the individual Class member’s claims, few, if any,

12
           Class members could afford to seek legal redress for the wrongs

13         complained of herein.
14   32.   A class action is a superior method for the fair and efficient adjudication of
15         this controversy. Class-wide damages are essential to induce Defendant to
16         comply with California law.        The interest of The Class members in
17         individually controlling the prosecution of separate claims against
18         Defendant is small because the maximum statutory damages in an
19         individual action for violation of privacy are minimal. Management of
20         these claims is likely to present significantly fewer difficulties than those
21
           presented in many class claims.
22
     33.   Defendant has acted on grounds generally applicable to The Class, thereby
23
           making appropriate final injunctive relief and corresponding declaratory
24
           relief with respect to The Class as a whole.
25

26

27

28




                                   CLASS ACTION COMPLAINT - 8
      Case 3:13-cv-01122-L-BGS Document 1 Filed 05/10/13 PageID.9 Page 9 of 11



1
                               FIRST CAUSE OF ACTION
2            INVASION OF PRIVACY: VIOLATION OF PENAL CODE § 632.7
        [BY PLAINTIFF AND THE CLASS MEMBERS AGAINST ALL DEFENDANTS]
3
     34. Plaintiff incorporates by reference all of the above paragraphs of this
4
           Complaint as though fully stated herein.
5
     35.   California Penal Code § 632.7 prohibits in pertinent part “[e]very person
6
           who, without the consent of all parties to a communication…intentionally
7
           records, or assists in the…intentional recordation of, a communication
8
           transmitted between…a cellular radio telephone and a landline telephone.”
9
           Thus, on its face, California Penal Code § 632.7 precludes the recording of
10

11
           all communications involving a cellular telephone.

12
     36.   Though similar, California Penal Code § 632 and 632.7 are not duplicative
13         and protect separate rights. California Penal Code § 632.7 grants a wider
14         range of protection to conversations where one participant uses a cellular
15         phone or a cordless phone. For example, the “confidential communication”
16         requirement of California Penal Code § 632 is absent from California Penal
17         Code § 632.7
18   37.   Defendant caused to be employed certain recording equipment on the
19         telephone lines of all employees, officers, directors, and managers of
20
           Defendant.
21
     38.   Plaintiff is informed and believes, and thereupon alleges, that all these
22
           devises were maintained and utilized to record each and every ingoing and
23
           outgoing telephone conversation over said telephone lines.
24
     39.   Said recording equipment was used to record the cellular telephone
25
           conversations of Plaintiff and the members of The Class utilizing cellular
26
           telephones, all in violation of California Penal Code § 632.7.
27
     40.   Based on the foregoing, Plaintiff and the members of The Class are entitled
28
           to, and below herein do pray for, their statutory remedies and damages,


                                  CLASS ACTION COMPLAINT - 9
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1
           including but not limited to, those set forth in California Penal Code §
2
           632.7; and California Penal Code § 637.2.
3
     41.   Because this case is brought for the purposes of enforcing important rights
4
           affecting the public interest, Plaintiff and The Class seek recovery of their
5
           attorney’s fees pursuant to the private attorney general doctrine codified in
6
           Code of Civil Procedure § 1021.5, or any other statutory basis.
7
                                   PRAYER FOR RELIEF
8
           Wherefore, Plaintiff respectfully requests the Court grant Plaintiff, The
9
     Class members the following relief against Defendant:
10

11
     42.   That this action be certified as a class action on behalf of The Class and

12
           Plaintiff be appointed as the representative of The Class;

13   43.   For $5,000 per violation of California Penal Code § 632.7 for Plaintiff and
14         each member of The Class;
15   44.   Injunctive relief in the form of an order requiring Defendant to disgorge all
16         ill-gotten gains and awarding Plaintiff, The Class and The Class full
17         restitution of all monies wrongfully acquired by Defendant by means of
18         such unfair and unlawful conduct;
19   45.   That the Court preliminarily and permanently enjoin Defendant from
20
           recording each and every oncoming and outgoing telephone conversation
21
           with California resident, including Plaintiff and The Class without their
22
           prior consent, as required by California Penal Code § 630, et seq., and to
23
           maintain the confidentiality of the information of Plaintiff and The Class;
24
     46.   For exemplary or punitive damages;
25
     47.   For costs of suit;
26
     48.   For prejudgment interest at the legal rate; and
27
     49.   For such further relief as this Court deems necessary, just, and proper.
28




                                  CLASS ACTION COMPLAINT - 10
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1
                                       TRIAL BY JURY
2
           Pursuant to the seventh amendment to the Constitution of the United States
3
     of America, Plaintiff is entitled to, and demands, a trial by jury.
4

5

6    Date: May 10, 2013
7
                                             Law Offices of Todd M. Friedman, P.C.
8

9
                                                     By: /s/ Todd M. Friedman
10
                                                        Todd M. Friedman, Esq.
11                                                      Attorney for Plaintiff
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                                   CLASS ACTION COMPLAINT - 11
